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THE UN|TED STATES D|STR|CT COURT
FOR THE MlDDLE D|STR|CT OF PENNSYLVAN|A

M|CHAEL SEM|AN,
P|aintiff,
. 3:17-CV-1183
v. : (JUDGE MAR|AN|)
DEPARTMENT OF M|L|TARY AND l
VETERANS’ AFFAlRS - GlNO J.
MERLl VETERANS CENTER,
Defendant.
_M_EMORANDUM OPlNlON

 

l. |NTRoDucTioN AND PRocEDuRAL HisToRY

ln his Comp|aint, (Doc. 1), filed July 5, 2017, P|aintiff, Michael Semian, asserts
employment discrimination based on sexual orientation and other claims under federal and
state law against his former employer and now Defendant, the Pennsylvania Department of
Nlilitary and Veterans’ Affairs - Gino J. Merli Veterans Center, for violations of Title Vll of the
Civi| Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (Count l); 42 U.S.C. §
1981 (Count l|); the Pennsylvania Human Relations Act (“PHRA”), 43 Pa. Cons. Stat. Ann. §
951, et seq. (Count lll); tortious interference with prospective contractual relations (Count
lV); and the Pennsylvania Whistleblower Law (“Whistleb|ower Law”), 43 Pa. Cons. Stat.
Ann. § 1421, et seq. (Count V). On September 26, 2017, Defendant filed a Federal Rule of
Civil Procedure 12(b)(6) l\/lotion to Dismiss for failure to state a claim upon which relief can

be granted (the “Motion”), (Doc. 12), and filed a brief in support of its Motion on November

 

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13, 2017, (Doc. 23). Plaintiff filed a brief in opposition to the Motion on December 22, 2017,
(Doc. 28). Defendant did not Hle a reply brief in response to P|aintiff’s opposition brief.
According|y, the parties have fully briefed the Motion, and it is ripe for decision. For the
reasons that follow, the Court will grant the Defendant’s Motion in part and deny it in part,
and will grant Plaintiff leave to amend his Comp|aint to address deficiencies in Counts l and
ll|.
||. FAcTuAL ALLEGATioNs

P|aintiff’s Complaint, (Doc. 1), alleges the following facts which, for the purposes of
resolving Defendant’s Motion, the Court takes as true:

P|aintiff, a Pennsylvania resident and gay male, is and has been a “Licensed Nursing
Home Administrator in the Commonwealth of Pennsylvania” since 1994. (ld. 1111 1-3).
Plaintiff has worked in the hospital and nursing care field since 1991. (ld. 1111 5-12). ln June
2010, Plaintiff was appointed to be the Commandant of the Gino J. Merli Veterans’ Center
(“ll/ler|i Veterans’ Center”), located in Scranton. (ld. 11 11). Defendant, a state agency,
operates and maintains the Merli Veterans’ Center and other similar facilities (“veterans’
homes”) in Pennsylvania to provide healthcare, including skilled nursing care, to veterans,

and was Plaintiffs employer at the time he worked at the Merli Veterans’ Center.1 (ld.1111

 

1 Plaintiff is often imprecise in the Comp|aint regarding the identity of the Defendant in this matter, variously
stating or alluding that Defendant is the Merli Veterans’ Center (Doc. 1 at 1), the Commonwealth of
Pennsylvania (id. 11 14), or the Department of Military and Veterans Affairs (id. 1111 12-13, 17 (“The
Department, through its facilities . . . .”). Near the end of his Complaint, Plaintiff alleges that it was the
Pennsylvania Department of Military and Veterans’ Affairs that terminated his employment. (ld. 11 84). See
also (Doc. 2-1 (Exhibit B to Complaint)); Fed. R. Civ. P. 10(c) (“A copy of a written instrument that is an

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12-17). Defendant “acted by and through its agents, servants, and employees, each of
whom acted within the scope of his or her job duties.” (ld. 11 21).

As Commandant of the Merli Veterans’ Center, Plaintiff was responsible for
“managing, directing, and controlling all services" for the facility. (ld.11 31). During his
tenure, Plaintiff received evaluations from his supervisor, DMVA’s Director of Homes. (ld.
1111 79-80). “From 2010 through 2013," these evaluations “always exceeded expectations.”
(ld. 11 79). Subsequent evaluations, starting in June 2013, included ratings of “exceeds
expectations” on many job elements, but also included some ratings of “meets expectations”
or “needs improvement.” (ld. 111181-83). P|aintiff’s evaluation covering the period of July
2014 through June 2015 (four months before he was terminated) indicated that the
“Resu|ts” job element was rated “needs improvement,” but that “[t]he organization [Merli
Veterans’ Center] has cleared the DOH [Pennsy|vania Department of Health] Plan of
Correction and is awaiting annual inspection.” (ld. 11 83).

The Pennsylvania Department of Health (“DOH”) conducts inspections (“surveys”)
and ratings of veterans’ homes to ensure compliance with state and federal rules and
regulations (ld. 1111 64-65). These surveys can occur multiple times throughout the year:

the Merli Veterans’ Center was surveyed ten times in 2014, and seven times in 2015 before

 

exhibit to a pleading is a part of the pleading for all purposes."); Chester Cty. Intermediate Unit v. Pa. B/ue
Shie/d, 896 F.2d 808, 812 13d Cir. 1990) (“written instrument" such as a contract attached to a Comp|aint is
a documentary exhibit that can be considered on a Motion to Dismiss). Plaintiff also acknowledges that
“the Department" is the Defendant in his opposition brief to Defendant’s Motion to Dismiss. (See Doc. 28 at
1). According|y, the Court will take the Defendant in this matter to be the Pennsylvania Department of
Military and Veterans Affairs (“DlVlVA”).

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P|aintiff’s employment termination in October of that year. (ld. 1111 72-73). ln 2013, a survey
revealed issues at the Merli Veterans’ Center with respect to the facility’s infection Control
and Wound Nurse, who was found to “not have an understanding of the position and was
unable to perform the duties of his position.” (ld. 11 66). Defendant replaced the infection
Control and Wound Nurse with a new person, who “|acked formal training or experience in
wound care or infection control,” and whose appointment was questioned by Plaintiff. (ld. 11
67).

Fo|lowing the appointment of the new infection Control and Wound Nurse, the Merli
Veterans’ Center continued to be cited for infection control and wound issues. (ld. 11 68).
Defendant decided that an “outside wound company” could assist with these issues and
anticipated that the company would be on site a few days a week. (ld. 11 69). However, the
company was only on site one day a week, and was selected without input from the Plaintiff
or the Merli Veterans’ Center’s Director of Nursing (“DON"). (ld.)

Additionally, the Merli Veterans’ Center had other nursing leadership staffing issues
around this time. (ld. 1111 53-60). From 2013 to 2015, the facility’s Certihed Registered
Nurse Practitioner (“CRNP”) position was unfilled, and the DON position was filled by a
rotating selection of staffers from August 2013 to September 2014. (ld. 1111 55, 58-60).
Plaintiff “continuously complained to his superiors” at the DMVA “that a competent and
effective DON and infection Control and Wound Nurse was critical to the health care needs”

of the residents of the Merli Veterans’ Center. (ld.11 71).

 

 

 

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A DOH survey completed on September 25, 2015 found that the Merli Veterans’
Center was deficient in compliance with regulations, including in the areas of “infection
disease [sic] and wound care." (ld. 11 78). ln 2015, the DMVA’s Director of Homes directed
the DON and Plaintiff not to have the Merli Veterans’ Center’s CRNP attend meetings with
DOH surveyors because the CRNP would “’kill us’ during the survey process.” (ld. 11 56.)
Plaintiff protested this order from the Director of Homes. (ld.) On October 25, 2015,
Defendant terminated Plaintiffs employmentl (ld.11 84; Doc. 2-1). Plaintiff alleges that his
employment termination “was due, in part, to his sexual orientation as he was made a
‘scapegoat’ for the failures of the [DMVA] in meeting the Plaintiffs . . . staang requests for
the Gino J. Merli Veterans’ Facility.” (ld. 11 85). ln December 2015, DOH downgraded the
Merli Veterans’ Center license to a “Provisional lV" license, the lowest level. (Doc. 1 1175).

Plaintiff further asserts he “has exhausted his administrative remedies” before
bringing this Comp|aint and timely filed this action. (ld. 1111 27-28).

||l. STANDARD oF REviEw

A complaint must be dismissed under Federal Rule of Civi| Procedure 12(b)(6) if it
does not allege “enough facts to state a claim to relief that is plausible on its face.” Be// At/.
Corp. v. Twomb/y, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). “A claim
has facial plausibility when the plaintiff pleads factual content that allows the court to draw
the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft

V. lqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009).

 

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“While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
detailed factual allegations, a plaintiffs obligation to provide the grounds of his entitlement
to relief requires more than labels and conclusions, and a formulaic recitation of the
elements of a cause of action will not do.” Twombly, 550 U.S. at 555 (internal citations,
alterations, and quotations marks omitted). A court “take[s] as true all the factual allegations
in the Comp|aint and the reasonable inferences that can be drawn from those facts, but . . .
disregard[s] legal conclusions and threadbare recitals of the elements of a cause of action,
supported by mere conclusory statements.” Ethypharm S.A. France v. Abbott Labs., 707
F.3d 223, 231 n.14 (3d Cir. 2013) (internal citation, alteration, and quotation marks omitted).
Thus, “the presumption of truth attaches only to those allegations for which there is

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sufhcient ‘factual matterJ to render them ‘plausib|e on [their] face. Schuchardt v. President
of the U.S., 839 F.3d 336, 347 (3d Cir. 2016) (alteration in original) (quoting lqba/, 556 U.S.
at 679). “Conclusory assertions of fact and legal conclusions are not entitled to the same
presumption.” ld.

“A|though the plausibility standard ‘does not impose a probability requirement,’ it
does require a pleading to show ‘more than a sheer possibility that a defendant has acted
unlawfully.”’ Conne//y v. Lane Consfr. Corp., 809 F.3d 780, 786 (3d Cir. 2016) (internal
citation omitted) (first quoting Twomb/y, 550 U.S. at 556; then quoting lqbal, 556 U.S. at

678). “The plausibility determination is ‘a context-specihc task that requires the reviewing

 

 

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court to draw on its judicial experience and common sense.’" ld. at 786-87 (quoting
/qbal, 556 U.S. 679).

However, even “if a complaint is subject to Rule 12(b)(6) dismissal, a district court
must permit a curative amendment unless such an amendment would be inequitable or
futile.” Phi//ips v. Cty. of Allegheny, 515 F.3d 224, 245 (3d Cir. 2008).

[E]ven when plaintiff does not seek leave to amend his complaint after a defendant

moves to dismiss it, unless the district court finds that amendment would be

inequitable or futile, the court must inform the plaintiff that he or she has leave to
amend the complaint within a set period of time.
ld.
lV. ANALYsis
Defendant seeks to dismiss all of Plaintiffs claims under Rule 12(b)(6). The Court

will address each of P|aintiff’s claims in turn.

A. Counts / 8 l// - Discrimination on the Basis of Sexua/ Orientation in Vio/ation of Title
Vll and the PHRA

ln the Complaint’s first and third counts, Plaintiff alleges he was discriminated
against in violation of Title Vll, 42 U.S.C. § 2000e-2(a)(1), and the PHRA, 43 Pa. Cons. Stat.
Ann. § 955(a), on the basis of his sexual orientation when Defendant terminated him from
his position as Commandant at the Merli Veterans’ Center. (Doc. 1 1111 85-93, 98-100). ln
its Motion, Defendant raises two arguments to dismiss these claims: 1) P|aintiff’s Title Vll
claim is time barred; and 2) Plaintiff failed to properly plead a claim for sex discrimination.

(Doc. 23 at 6-10).

 

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1. Time Bar to Title Vll C/aim

Defendant argues that Plainitiff is time barred from bringing his Title Vll claim
because “he has not received a right to sue letter from the EEOC [Equal Employment
Opportunity Commission], and it is too late now.” (Doc. 23 at 8). Defendant correctly states
the law with respect to the procedural requirements to bring Title Vll claims in federal court.
(ld. at 8-9). Title Vll claims must first be fled as charges with the EEOC within 300 days of
the alleged unlawful employment practice if charges are first filed with a state authority, and
the EEOC must deliver a right to sue notice to the putative plaintiff before he can file suit in
federal court. 42 U.S.C. § 2000e-5(e)(1), (f)(1); Ostapowicz v. Johnson Bronze Co., 541
F.2d 394, 398-99 (3d Cir. 1976) (citing McDonne// Doug/as Corp. v. Green, 411 U.S. 792
(1973)). Defendant contends that because Plaintiff did not attach to the Comp|aint a right to
sue letter from the EEOC, he did not receive a right to sue notice from the EEOC. (Doc. 23
at 8-9). Defendant also contends that Plaintiff did not plead that his charge was filed with
the EEOC in a timely fashion. (ld. at 9).

Defendant’s timeliness argument fails. “The pleading of conditions precedent [to
filing suit] is governed by Rule 9(c), not Rule 8(a)." Hildebrand v. A//egheny Cty., 757 F.3d
99, 112 (3d Cir. 2014). Rule 9(c) only requires that pleading conditions precedent requires
alleging that “generally that all conditions precedent have occurred or been performed.”
Fed. R. Civ. P. 9(c). And “[n]either /qba/ nor Twombly purport to alter Rule 9.” Hildebrand,

757 F.3d at 112; O/iver v. Scranton Materia/s, /nc., No. 3:14-CV-00549, 2015 WL 1003981,

 

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at *3 (M.D. Pa. Mar. 5, 2015). Defendant’s factual contentions in its Motion are controverted
by paragraphs 27 and 28 of the Complaint, which allege, in relevant part, that “[t]he instant
action is timely filed,” “[t]he Plaintiff also cross-filed the efore-mentioned [sic] charges with
the United States Equal Employment Opportunity Commission (“EEOC”)”, and “[t]he Plaintiff
has exhausted his administrative remedies as to the allegations of this Complaint.” (Doc. 1
1111 27-28.) Plaintiff also attached a “right to sue” letter from the Pennsylvania Human
Relations Commission (“PHRC"), dated January 31, 2017, noting that it had been one year
since Plaintiff filed his complaint with the PHRC, and listing an EEOC case number in the
heading. (Doc. 2 at 2). Thus, at the motion to dismiss stage, P|aintiff’s allegations are
sufficient under Rule 9(c) to avoid dismissal on the basis of timeliness
2. P/eading Suffici'ency

Defendant also argues that Plaintiff failed to properly plead a claim for sex
discrimination under Title Vll and the PHRA. Title Vll and the PHRA both prohibit
discrimination by an employer against an individual on the basis of that individual's race,
color, religion, sex, or national origin. 42 U.S.C. § 2000e-2(a); 43 Pa. Cons. Stat. Ann. §
955(a). “[T]he PHRA is construed consistently with interpretations of Title Vll." E/dridge v.
Muni'cipality of Norristown, 514 Fed. App’x. 187l 189 n.2 (3d Cir. 2013) (citing Gomez v.
A/legheny Health Servs., lnc., 71 F.3d 1079, 1083-84 (3d Cir. 1995)). A plaintiff can prove
discrimination on a direct basis, which requires direct evidence of discriminatory animus.

Walden v. Georgia-Pacific Corp., 126 F.3d 506, 513 (3d Cir. 1997); Anderson v. Wachovia

 

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Mon‘g. Corp., 621 F.3d 261, 269 (3d Cir. 2010). Alternatively, a plaintiff can prove
discrimination on an indirect basis by satisfying the familiar three-step burden-shifting
analysis set forth in McDonne// Douglas Corp. v. Green, 411 U.S. 792, 802-03, 93 S. Ct.
1817, 36 L. Ed. 2d 668 (1973). Bun‘on v. Te/ef/ex lnc., 707 F.3d 417, 425 (3d Cir. 2013).
See also Scheidemant/e v. S/ippery Rock Univ. State Sys. of Higher Educ., 470 F.3d 535,
539 (3d Cir. 2006) (“To prevail on a claim for gender discrimination under Title Vll and its
analogous provision under the PHRA, [plaintifi] must satisfy the three-step burden-shifting
inquiry laid out in McDonne// Douglas.”).

Under the McDonne// Douglas framework, Plaintiff must first establish a prima facie
case of sex discrimination, which requires a showing that: “(1) he was a member of a
protected class; (2) he was qualified for the position; (3) he suffered an adverse
employment action; and (4) members of the opposite sex were treated more favorably."
Bun‘on, 707 F.3d at 426 (citing Hugh v. Butler Cty. Fami/y YMCA, 418 F.3d 265, 267 (3d Cir.
2005)). “A plaintiff may also meet the last element by showing that the adverse employment
action ‘occurred under circumstances that could give rise to an inference of intentional
discrimination.’" ld. (quoting Makky v. Chen‘off, 541 F.3d 205, 214 (3d Cir. 2008)). Like
other courts, the Third Circuit has ruled that discrimination based on gender stereotypes is
sex-based discrimination prohibited by Title Vll. “[A] plaintiff may be able to prove that
same-sex harassment was discrimination because of sex by presenting evidence that the

harasser’s conduct was motivated by a belief that the victim did not conform to the

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stereotypes of his or her gender.” Bibby v. Phiia. Coca Cola Bottiing Co., 260 F.3d 260,
262-64 (3d Cir. 2001) (citations omitted) (further discussing plurality opinion in Price
Waterhouse v. Hopkins, 490 U.S. 228, 250 (1989)). See also Prowel v. Wise Bus. Forms,
lnc., 579 F.3d 285, 289 (3d Cir. 2009); Zarda v. Aififude Express, lnc., 883 F.3d 100, 121
(2d Cir. 2018) (finding sexual orientation discrimination is sex-based discrimination
prohibited by Title Vll, and stating “[w]e now conclude that sexual orientation discrimination
is rooted in gender stereotypes and is thus a subset of sex discrimination."); Hively v. ivy
Tech Cmty. Coii. of lnd., 853 F.3d 339, 346 (7th Cir. 2017) (same, and stating “[o]ur panel
described the line between a gender nonconformity claim and one based on sexual
orientation as gossamer-thin; we conclude that it does not exist at all.”).

in response to Plaintiffs prima facie showing, the burden shifts “to offer a legitimate
non-discriminatory [justification] for the adverse employment action.” Buifon, 707 F.3d at
426 (quoting Smith v. City of A/lentown, 589 F.3d 684, 690 (3d Cir. 2009)). “This burden is
relatively light and is satisfied if the employer provides evidence, which, if true, would permit
a conclusion that it took the adverse employment action for a non-discriminatory reason.”
ld. (citing Tomasso v. Boeing Co., 445 F.3d 702, 706 (3d Cir. 2006)). “At this stage, ‘the
defendant need not prove that the articulated reason actually motivated its conduct.”’ ld.
(quoting She//enberger v. Summit Bancorp, lnc., 318 F.3d 183, 189 (3d Cir. 2003)). At the
pleading stage, a plaintiff must only plead enough facts to state a plausible claim for relief

under the McDonne// Douglas standard. See Conneiiy, 809 F.3d at 788-89 (“[A]t least for

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purposes of pleading sufhciency, a complaint need not establish a prima facie case in order
to survive a motion to dismiss.”).

Although the parties clash over the exact coverage of Title Vll protections, (compare
Doc. 23 at 7-8 (Defendant asserting Title Vll does not prohibit discrimination solely on the
basis of sexual orientation) with Doc. 28 at 9-18 (Plaintiff asserting the opposite)), their true
dispute centers on whether Plaintiff has alleged sufhcient facts to show improper sex-based
discrimination Defendant argues Plaintiff has not, in part, because he has not alleged facts
that “he was discriminated against because he failed to conform to stereotypes of his
gender.” (Doc. 23 at 8). Plaintiff responds that he “has alleged sufficient facts that he was
discriminated against and harassed because he failed to fit his employer’s view of what it
means to be a man and that, as the ‘fall guy’, he was subjected to adverse treatment
‘because of his sex.” (Doc. 28 at 17).

While Plaintiffs opposition to Defendant’s Motion illustrates that he believes he was
discriminated against because of gender stereotyping, a brief submitted in opposition to a
Motion to Dismiss is not a Comp|aint nor a substitute for absent allegations, and the Court
agrees with Defendant that Plaintiff has failed to allege sufhcient plausible factual material in
his Comp|aint related to discrimination other than conclusory statements regarding possibly
discriminatory reasons for his termination. (Doc. 1 1111 85-93). Thus, the Court will grant

Defendant’s Motion with respect to Counts l and lll, but will grant Plaintiff leave to amend

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his Complaint. Fed. R. Civ. P. 15(a)(2) (“The court should freely give leave [to amend]
when justice so requires.").
B. Count /I - Claim Under 42 U.S.C. § 1981

Defendant challenges Count ll, Plaintiffs claim under 42 U.S.C. § 1981, in its Motion
on the basis that Section 1981 provides protections for racial minorities against
discrimination based on race, see 42 U.S.C. § 1981(a); Brown v. Phiiip Morris lnc., 250 F.3d
789, 797 (3d Cir. 2001), and that Plaintiff has not alleged any facts that he is a member of a
racial minority or that he was discriminated against on the basis of his race. (Doc. 23 at 10).
in his opposition to Defendant’s Motion, Plaintiff “concedes” Count ll. (Doc. 28 at 3-4).
According|y, Defendant’s Motion is granted with respect to Count ll.

C. Count lV- Toitious interference Claim

Defendant argues for dismissal of Plaintiffs count for tortious interference with
prospective contractual relations because sovereign immunity bars the claim. The Court
agrees, and the claim shall be dismissed with prejudice.

The sovereign immunity of unconsenting states from suit in federal court is
recognized by the Eleventh Amendment to the U.S. Constitution: “[t]he Judicial power of the
United States shall not be construed to extend to any suit in law or equity, commenced or
prosecuted against one of the United States by Citizens of another State, or by Citizens or
Subjects of any Foreign State.” U.S. Const. amend. Xl; see also Wa/ker v. Dep’t. of Military

and Veterans Affairs, No. 2:08cv267, 2008 WL 2433091, at *2 (W.D. Pa. June 12, 2008)

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(citing Pennhursf Stafe Sch. & Hosp. v. Haiderman, 465 U.S. 89, 100 (1984)) (“The
Supreme Court has consistently held that the Eleventh Amendment immunizes an
unconsenting state from suits brought in federal court by its own citizens as well as by
citizens of another state.”)). “Congress may abrogate the states’ Eleventh Amendment
immunity [from suit for violations of federal law] pursuant to its authority under section five of
the Fourteenth Amendment provided it has unequivocally expressed its intent to do so.”
Wa/ker, 2008 WL 2433091, at *2 (citing Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 73-74, 79
(2000)). Otherwise, states retain the ability to decide to consent to being sued in federal
court. Laskaris v. Thornburg, 661 F.2d 23, 25 (3d Cir. 1981). Sovereign immunity applies
to state departments or agencies having no existence apart from the state. ld. (citing Mt.
Healthy City Bd. of Educ. v. Doyie, 429 U.S. 274, 280 (1977)).

Here, Defendant argues that P|aintiff’s tortious interference claim is barred by
sovereign immunity because: 1) the Department of Military and Veterans Affairs is a state
agency; 2) P|aintiff’s claim is brought under state law; and 3) there has been no waiver of
sovereign immunity. (Doc. 23 at 11-13). Defendant maintains that Pennsylvania has
“expressly refused” to waive sovereign immunity unless othenivise directed by the state
Legislature. (ld. at 11-12); 42 Pa. Cons. Stat. Ann. § 8521(b); 1 Pa. Cons. Stat. Ann. §
2310; Pa. Const. art. 1, § 11; Ezy Parks v. Larson, 454 A.2d 928, 934-35 (Pa. 1983). And,
Defendant contends, Pennsylvania’s Legislature has only waived sovereign immunity in

limited instances, which do not apply here. (Doc. 23 at 12-13); see 42 Pa. Cons. Stat. Ann.

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§ 8522(b); 62 Pa. Cons. Stat. Ann. § 1702(b). Plaintiff responds that an “enumerated
exception-namely, the ‘medica|-professional’ exception,” 42 Pa. Cons. Stat. Ann. §
8522(b)(2), applies in this instance to waive Defendant’s sovereign immunity. (Doc. 28 at
21-22).

The Court agrees with Defendant that sovereign immunity applies to P|aintiff’s
tortious interference claim. ln his Complaint, Plaintiff alleges that Defendant is a
“department of the Commonwealth of Pennsylvania.” (Doc. 1 1113); see also 51 Pa. Cons.
Stat. Ann. § 701, et seq. (establishing DMVA); 43 Pa. Code § 7.1, et seq. (administrative
regulations for establishment and management of DMVA veterans’ homes). There has also
been no waiver of sovereign immunity by Defendant in this case with respect to Plaintiffs
tortious interference claim. Plaintiffs reliance on an exception to Pennsylvania’s sovereign
immunity statute is misguided, because that statute only creates exceptions to sovereign
immunity for negligent acts:

(a) Liability imposed.--The General Assembly, pursuant to section 11 of

Article l of the Constitution of Pennsylvania, does hereby waive, in the
instances set forth in subsection (b) only and only to the extent set forth in
this subchapter and within the limits set forth in section 8528 (relating to
limitations on damages), sovereign immunity as a bar to an action against
Commonwealth parties, for damages arising out of a negligent act where
the damages would be recoverable under the common law or a statute
creating a cause of action if the injury were caused by a person not having
available the defense of sovereign immunity.

42 Pa. Cons. Stat. Ann. § 8522(a) (emphasis added); see aiso, e.g., Mitche// v. Lukenbi/i,

680 F. Supp. 2d 672, 682 (M.D. Pa. 2010); LaFrank/e v. Milkich, 618 A.2d 1145, 1149 (Pa.

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Commw. Ct. 1992). Tortious interference with prospective contractual relations is an
intentional tort. See Adier, Barish, Danieis, Levin & Creskoff v. Epstein, 393 A.2d 1175,
1183 (Pa. 1978). Plaintiff also alleges in his Comp|aint that Defendant and Defendant’s
employees “acted within the scope of his or her job duties,” (Doc. 1 11 21), and so there is no
issue here of an act committed outside of the bounds of the scope of employment that could
negate the application of sovereign immunity, see 42 Pa. Cons. Stat. Ann. § 8501 (defining
“Commonwealth party" as “a Commonwealth agency and any employee thereof, but only
with respect to an act within the scope of his office of employment”). lndeed, Pennsylvania
district courts have held that Defendant is entitled to sovereign immunity in appropriate
cases. Moore v. Pa. Dep’t of Military & Veterans Affairs, 216 F. Supp. 2d 446, 454 (E.D.
Pa. 2002); Wa/ker, 2008 WL 2433091, at *2-3; Fandino v. Pa. Dep’t of Military & Veterans
Affairs, No. 13-CV-4302, 2013 WL 6022169, at *1 n.1 (E.D. Pa. Nov. 14, 2013). Thus, the
Court finds it proper to apply sovereign immunity to Defendant regarding P|aintiff’s tortious
interference claim and will dismiss Count lV of the Complaint with prejudice. Worth 8 Co.,
lnc. v. Getzie, 11 F. Supp. 3d 484, 494-95 (E.D. Pa. 2014) (dismissing tortious interference
claim against Pennsylvania state agency officials because of sovereign immunity); Marin v.
Schmider, No. 1:14-cv-1523, 2015 WL 5882271, at *13-14 (M.D. Pa. Sept. 30, 2015)
(dismissing “tortious interference with career” claim against Pennsylvania DOH official

because of sovereign immunity).

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D. Count V- Pennsylvania Whistleblower Law Claim

Finally, Defendant asserts a time bar argument in favor of dismissal of P|aintiff’s
Pennsylvania Whistleblower Law claim (Count V). Defendant notes that the statute requires
those alleging a violation to “bring a civil action in a court of competent jurisdiction for
appropriate injunctive relief or damages, or both, within 180 days after the occurrence of the
alleged violation," 43 Pa. Cons. Stat. Ann. § 1424(a), and argues that there are no
exceptions to this limitations period. (Doc. 23 at 13). Because Plaintiffs employment was
terminated on October 25, 2015 and he did not file his Comp|aint until July 5, 2017,
Defendant concludes that his Whistleblower Law claim is time barred. (ld.). Plaintiff
responds that, because he needed to exhaust administrative remedies with respect to his
Title Vll and PHRA claims, he waited to file his Comp|aint alleging all of Defendant’s
unlawful practices to avoid a “procedural quandary.” (Doc. 28 at 30-31).

Plaintiffs position amounts to an equitable tolling argument, but the Court notes that
the weight of authority from other courts suggests that the filing of an EEOC complaint does
not toll the time period to file state tort claims, including a Whistleblower Law claim.
Piemmons v. Pa. Mfrs. Ass’n Ins. Co., Civ. A. No. 90-2495, 1991 WL 61128, at *2 (E.D. Pa.
Apr. 13, 1991) (Title Vll and Whistleblower Law action); Vi//e/a v. City of Phi/a., No. ClV. A.
95-1313, 1995 WL 295318, at *4 (E.D. Pa. May 9, 1995) (Section 1983 and Whistleblower
Law action). See also Duran v. Jamaica Hosp., 216 F. Supp. 2d 63, 67 n.3 (E.D.N.Y. 2002)

(listing cases, including Juarez v. Ameritech Mobile Commc’ns, lnc., 957 F.2d 317, 322-23

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(7th Cir.1992) (filing of EEOC charge did not toll the statute of limitation on employee's state
law invasion of privacy claim); Arnoid v. U.S., 816 F.2d 1306, 1312-13 (9th Cir.1987)
(holding state law tort claims are not tolled during pendency of Title Vll action); Dupree v.
Hutchins Bros., 521 F.2d 236, 238 (5th Cir.1975) (finding state statute of limitation for§
1981 action was not tolled during pendency of EEOC claim)). Despite this, the Court is
reluctant to dismiss Plaintiffs Whistleblower Law claim at this juncture. The fact that
Plaintiffs employment was terminated by Defendant on October 25, 2015 does not
conclusively establish that Plaintiff knew then or should have known then that his complaints
regarding the staffing issues at the Merli Veterans’ Center were the reasons, in part or in
whole, for his discharge. See Ciark v. Colwyn Borough, Civil Action No. 12-3668, 2013 WL
504865, at *4 (E.D. Pa. Feb. 13, 2013) (applying “discovery rule” tolling principle to
Whistleblower Law action and denying motion to dismiss when question remained open
about when plaintiff learned of his employment termination). lndeed, Plaintiffs employment
termination letter from Defendant that is attached to the Comp|aint says nothing about the
reasons for his firing. (See Doc. 2-1).

Thus, the Court will deny Defendant’s motion to dismiss Plaintiffs Whistleblower Law
claim. During discovery Defendant is free to inquire into the facts surrounding when Plaintiff
learned his staffing-related complaints were allegedly the reason or one of the reasons for

his discharge

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V. CoNcLusioN
For the reasons outlined above, the Court will grant Defendant’s Motion in part and
deny it in part. Counts ll and lV are dismissed with prejudice. The dismissal of Counts l

and lll, however, will be without prejudice to Plaintiffs right to amend his Comp|aint as it

pertains to those claims. A separate order follows.

  

 

§'obe\rt~D-. iani
United States District Judge

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